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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                                    CASE NUMBER:

FIONA HARVEY
                                                      2:24−cv−04743
                                    Plaintiff(s),

          v.
NETFLIX INC, et al.

                                                          NOTICE OF CASE TERMINATION
                                  Defendant(s).




      In response to the opening of this case, the Clerk issued a Notice to Filer of Deficiencies
in Attorney Case Opening. The Notice indicated that unless counsel corrected the identified
discrepancy within two business days, the docket for this case number would be closed and no
further filings would be permitted under this case number. Counsel has not corrected the
discrepancy. Accordingly, this case is now closed. No further filings may be made under this
case number, except, if applicable, to request a refund of fees using a Form G−124,
Application for Refund of Fees. Should you wish to pursue this action, a new case must be
filed and a new case number issued.




                                                    Clerk, U.S. District Court

  June 13, 2024                                     By: /s/ Estrella Liberato
       Date                                            Deputy Clerk



(07/13)                           NOTICE OF CASE TERMINATION
